Case 1:15-cr-00487-GBD Document 596

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA,
-against-
HECTOR TIRADO,
Defendant.
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GEORGE B. DANIELS, United States District Judge:

  

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15 Crim. 487-5 (GBD)

Defendant’s request for an extension of time to file a reply in support of Defendant’s

motion for compassionate release is GRANTED. Defendant shall file a reply in support of the

motion for compassionate release by November 16, 2020.

The Clerk of Court is directed to mail a copy of this order to Defendant.

Dated: New York, New York
November 5, 2020

SO ORDERED.

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EPR GHB. DANIELS
ed States District Judge

 

 
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